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                                          IN THE UNITED STATES DISTRICT COURT

                                             FOR THE DISTRICT OF MINNESOTA




NOAH J MCCOURT
     i
Plaintiff,                                        CIVIL COMPLAINT


v.                                                DEMAND FORJURYTRIAL          4




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ASSOCTATION


Defendant.




                         COMPTAINT FOR PERMANENT INJUNCTION REQUIRING CHANGESTO

                    ORGANIZATIONAL POLICY AND THE ELIMINATION OF DIGITALACCESS BARRIERS

                                            PURSUANTTo 42 UsC 512188 (a) (2)

Noah J McCourt,           ("Plaintiff') seeks a permanent injunction requiring a change in the policies of the

Minnesota County Attorney's Association. ("Defendant")to cause Defendant's websites to become, and

remain, accessible and in support thereof asserts as follows:


                                                       INTRODUCTION



1. Plaintiff Noah J McCourt brings this action against Defendant and asserts that its websites are not


accessible         to individuals with disabilities in violation of Title lll of the Americans with Disabilities Act,42

U.S.C.        5   L2LOLet seq. (the   "ADA"). Plaintiff seeks a permanent injunction to cause a change in

Defendaht's policies related to           iti web based technologies   so that Defendant's websites    will become,

and wif f remain, accessible. The website at issue.is : https://mcaa-mn.orel              :
                                              \
2. While the increasing pervasiveness of digital information presents an unprecedented opportunity                  to

 increase access to goods and services for people with perceptual or motor disabilities
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                                                                                                      U.S. DISTRICT COURT
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a)   that Defendani retain a qualified consultant.acceptable to Plaintiff ("Mutually Agreed Upon

Consultant") who shall assist it in improving the accessibility of its Webbites so that they comply with

version 2.0 of the Web Content Accessibility Guidelines ("WCAG 2.0 AA");


b) that Defendant work       with the Mutually Agreed Upon Consultant to ensure that all employees

involved in websitg development and content development be given web accessibility training on       a


periodic basis calculated to achieve ongoing compliance with WCAG 2.0 AA;


c)   that Defendant work with the Mutually Agreed Upon Consultant to perform an automated

accessibility audit on a periodic basis to evaluate whether Defendant's Websites continue to comply

with WCAG 2.0 AA on an ongoing basis;


d)that Defendant work with the Mutually Agreed Upon Consultant to perform end- user

accessibility/usability testing on a periodic basis with said testing to be performed by individuals with

various disabilities to evaluate whether Defendant's Websites continue to comply with WCAG 2.0 AA on

an ongoing basis; and,



e)that Defendant work with the Mutuatly Agreed Upon Consultant to create an accessibility policy that

will be posted on its Websites, along with an e-mail address and toll free phone number to report
                                                                                                            )
accessibility-related problems.


                                           JURISDICTION AND VENUE



7. This Court has federat question jurisdiction pursuant to 28 U.S.C. 5 1331 and 425 12188



8. Plaintiffs claims asserted herein arose in this judicial district and Defendant does substantial business

in this judicial district.
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14.'The international website standards organjzation, W3C, has published WCAG 2.0 AA. WCAG 2.0 AA

provides widely accepted guidelines for making websites accessible to individuals with disabilities. These

guidelines have been endorsed by the United States Department of Justice and numerous federal

courts.


15. Through its Website, Defendant offers information services and advocacy support, Defendant's


Website also announces public events and legislative priorities and the opportunity to review updates

and perform a variety of other functions.



15. Plaintiff is diagnosed with Autism Spectrum Disorder, Developmental Coordination Disorder and

experiences chaltenges with executive functioning and fine and gross motor skills. The Plaintiff relies on

being able to navigate a website without a mouse in order to access the lnternet and view website

content.


17. Despite several attempts to navigate https://mcaa-mn.org/,Plaintiff has been denied the full use and

enjoyment of the information, activities and services available on https://mcaa-mn.orsl as a result of

access barriers on the site.



18. The barriers   at https://mcaa-mh.orel              have caused a denial of Plaintiffs full and equal access


multiple times in the past, and now deter Plaintiff from attempting to use Defendant's website.


19. lf https://mcaa-mn.o,rel were accessible, Plaintiffwould have access to and full use of the

information, activities and services on the Defendant's website.
                                                                                                                   '




20. Defendant has never had a plan or policy that is reasonably calculated to make its Websites fully

accessible tq, and independently usable by, individuals with disabilities.


22. Without injunctive relief, Plaintiff and other disabled individuals will continue to be unable to

independently use http://vi                                                 in violation of their rights under the ADA.
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modifications would fundamentally alter the nature of such goods, services, facilities, privileges,

advantages or accommodations; and a failure to take such steps as may be necessary to ensure that
                                                                       1




no individual with a disability is excluded, denied seruices, segregated or otherwise treated differently

                                                            aids and services, unless the entity can
.than other individuals because of the absence of auxiliary

demonstrate that taking such steps would fundamentally alter the nature bf the good, service, facility,

 privilege, advantage or accommodation being offered or would result in an undue burden." 42 U.S.C.                 S



 12182(bX2XAXIi)-(iii); see also 28 c.F.R. 5 35.303(a).


 29. Title   lll requires that "[a] public accommodation shallfurnish appropriate auxiliary aids and services

 where necessary to ensure effective communication with individuals with disabilities." 28 C.F.R. $

 36.303(cX1). The regulation sets forth numerous examples of "auxiliary aids and services," including

 "...accessible electronic and information technotogy; or other effective methods of making online

 materials available to individuals with disabilties." 28 C.F.R.       S   36.303(b).


, 30. The acts alleged herein constitute violations of Title       lll of the ADA, and the regulations promulgated

 thereunder. Plaintiff, who has      a disability that   substantially limits major life activities within the meaning

 of 42 U.S.C. 55 12102(1XA) and (2XA),has been denied full and equal access to

                                                     e has not been provided services that are provided to others


 who are not disabled    ,   andf or has been provided services that are inferior to the services provided     to

 non- disabled' persons. Defendant has failed to.take any prompt and equitable steps to remedy

 itsdiscriminatory conduct. These violations are ongoing.


 31. Pursuant to 42 U.S.C. 5 12188 and the remedies, procedures and rights set forth and incorporated

 therein, Plaintiff requests relief   as set   forth below.


                                                   PRAYER FOR RETIEF
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